                  IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE NORTHERN DISTRICT OF ALABAMA
                              NORTHERN DIVISION
  _____________________________________________________________________________

 In re:                                                 )
                                                        )
 MDM HOLDINGS, INC.                                     )      Chapter 11
                                                        )      Case No. 19-82531-CRJ-11
                    Debtor.                             )
                                                        )


   NOTICE OF DEFAULT PURSUANT TO AGREED FINAL ORDER AUTHORIZING
    THE DEBTOR TO USE CASH COLLATERAL AND TO PROVIDE ADEQUATE
                 PROTECTION ENTERED OCTOBER 25, 2019


          Comes now Strategic Funding Source, Inc. d/b/a Supersonic Funding (“Strategic”), by

 and through counsel, and files this Notice of Default as to the first adequate protection payment

 due to be paid to Strategic.

          1.        On October 25, 2019, the Court entered the Agreed Final Order Authorizing the

 Debtor to Use Cash Collateral and to Provide Adequate Protection (Doc. 63, the “Agreed

 Order”). The Agreed Order states the following:

          A.        The Debtor shall pay Strategic $800.00 per month beginning November 4,
                    2019, and the first Friday of every month thereafter. The Debtor will
                    continue the payments on a monthly basis until the expiration or
                    termination of this Agreed Order. These monthly payments shall be
                    remitted by automatic ACH payments debited from the Debtor’s debtor-
                    in-possession account (the “DIP Account”). The Debtor shall provide
                    Strategic a cancelled check for the DIP Account, and an email listing the
                    pending payment dates and amounts.

 (See Paragraph A of Agreed Order, p. 4).

          2.        Further, the Agreed Order provides that an “Event of Default” shall mean “(c)

 upon ten (10) days written notice by [ ] Strategic to the Debtor and the United States Bankruptcy




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 Administrator of the Debtor’s breach of any of the terms, conditions or provisions of this Agreed

 Order, ….” (See Paragraph M of Agreed Order, pp. 8-9).

          3.        The Agreed Order provides that, in the event of a default, Strategic will transmit a

 Notice of Default to Debtor and Debtor’s attorneys, and if the default set forth in the Notice of

 Default is not cured within ten (10) days of the Notice of Default, then the Debtor’s authority to

 use the Cash Collateral shall terminate, the automatic stay shall be terminated as to Strategic, and

 all amounts due under the Agreement shall be immediately due and payable, among other relief.

 (See Paragraph N of Agreed Order, pp. 9-10).

          4.        Debtor provided account information for Strategic to debit the monthly payments

 under the Agreed Order, which were to begin on November 4, 2019. However, the first ACH

 payment could not be paid to Strategic because the account was reported as closed. Therefore,

 because Debtor did not make the first adequate protection payment, Debtor has defaulted on its

 obligations under the Agreed Order by failing to pay the required adequate protection payment

 due November 4, 2019. As a result of Debtor’s default, Strategic is not adequately protected in

 this matter.

          5.        In accordance with Paragraph N of the Agreed Order, Strategic submits this

 written notice of default to the Debtor. In the event this default is not cured within ten (10) days

 of this Notice of Default, unless otherwise ordered by the Court, Debtor’s authority to use Cash

 Collateral shall terminate, the automatic stay shall be terminated with respect to Strategic, all

 amounts due under the Agreement shall be immediately due and payable, and Strategic shall be

 entitled to pursue its remedies under the Existing Documents (as defined in the Agreed Order).




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          Dated: November 14, 2019.

                                      Respectfully submitted,

                                      /s/ Rita L. Hullett
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on November 14, 2019, a copy of the foregoing was filed
 electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
 system to all parties indicated on the electronic filing receipt. Parties not so indicated on the
 electronic filing receipt will be served by undersigned counsel by electronic mail as shown
 below. Parties may access this filing through the Court’s electronic filing system.

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